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                      DISTRICT COURT OF THE VIRGIN ISLANDS
                              DIVISION OF ST. CROIX

UNITED STATES OF AMERICA and                         )
PEOPLE OF THE VIRGIN ISLANDS,                        )
                                                     )
               v.                                    )
                                                     )    Criminal Action No. 2013-0003
ELVIN WRENSFORD and                                  )
CRAIG MULLER,                                        )
                                                     )
                      Defendants.                    )
__________________________________________)
Attorneys:
Alphonso G. Andrews, Jr., Esq.,
Rhonda Williams-Henry, Esq.,
St. Croix, U.S.V.I.
        For the United States and the Virgin Islands

Omodare Jupiter, Esq.,
St. Croix, U.S.V.I.
        For Defendant Elvin Wrensford

Martial A. Webster, Esq.,
St. Croix, U.S.V.I.
        For Defendant Craig Muller




                                            ORDER

       UPON CONSIDERATION of Defendant Elvin Wrensford’s Motion to Suppress (Dkt.

No. 53), the Government’s Response thereto (Dkt. No. 71), the testimony and arguments at the

suppression hearings, the post-hearing briefing, and for the reasons stated in the accompanying

Memorandum Opinion, filed contemporaneously herewith, it is hereby

       ORDERED that Defendant Elvin Wrensford’s Motion to Suppress (Dkt. No. 53) is

GRANTED IN PART AND DENIED IN PART; and it is further
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          ORDERED that the Motion to Suppress is GRANTED to the extent that the keys,

wallet, and insurance card removed from Defendant Wrensford will be suppressed; and it is

further

          ORDERED that the Motion to Suppress is DENIED to the extent that the knife removed

from Defendant Wrensford, his statements to the Virgin Islands Police Department, the buccal

swab, and identifications of Defendant Wrensford by two witnesses will not be suppressed.

          SO ORDERED.

Date: August 11, 2014                              ________/s/________
                                                   WILMA A. LEWIS
                                                   Chief Judge
